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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA; FORT WORTH
 CHAMBER OF COMMERCE;
 LONGVIEW CHAMBER OF
 COMMERCE; AMERICAN
 BANKERS ASSOCIATION;
 CONSUMER BANKERS
 ASSOCIATION; and TEXAS
 ASSOCIATION OF BUSINESS,

      Plaintiffs,

 v.                                                    Case No.: 4:24-cv-213-P

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his
 official capacity as Director of the Consumer
 Financial Protection Bureau,

      Defendants.


         DEFENDANTS’ SUPPLEMENTAL RESPONSE TO THE MAY 13 ORDER

         Defendants hereby provide a supplemental response to the Court’s May 13 order to

address Plaintiffs’ proposed schedule. Defendants understood the Court’s order to be about what,

not when. Order, ECF No. 83, at 1 (“The Court, accordingly, ORDERS both Parties to brief the

Court on what the live pleadings are in this case and the current posture of such

pleadings.”). Plaintiffs nevertheless proposed a schedule for dispositive briefing. The rushed

schedule they propose is not (i) necessary (given that Plaintiffs have received preliminary

injunctive relief), (ii) feasible (given that it is not practicable to produce the administrative record

when Plaintiffs propose it be provided), or (iii) sensible (given that Defendants intend to file a



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motion on or before their May 28 deadline to respond to the Complaint that may obviate the need

for summary judgment briefing in this Court). Plaintiffs also did not raise their proposed

schedule with Defendants, though briefing and case management schedules are usually the

subject of discussion among the parties, see Fed. R. Civ. P. 16(b), 26(f).1 Consistent with the

principles of comity that should govern scheduling, Defendants respectfully suggest that, if the

Court intends to set a case schedule at this time, the parties be instructed to confer and report

back within 7 days with a joint proposal if possible, or separate proposals if necessary.2 See

Dondi Properties Corp. v. Com. Sav. & Loan Ass’n, 121 F.R.D. 284, 288 (N.D. Tex. 1988) (en

banc) (adopting standards of practice for litigation in the District, including that “[i]f a fellow

member of the Bar makes a just request for cooperation, or seeks scheduling accommodation, a

lawyer will not arbitrarily or unreasonably withhold consent”).

DATED: May 16, 2024                                    Respectfully Submitted,

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                                                       General Counsel

                                                       STEVEN Y. BRESSLER
                                                       Deputy General Counsel

                                                       KRISTIN BATEMAN
                                                       Assistant General Counsel


1
 Indeed, the parties scheduled a teleconference for the morning of May 15 to discuss a potential
schedule for dispositive motions briefing—following Defendants’ counsel’s requests for such a
discussion first made on April 22, and a preliminary conversation on May 13. Rather than
present their proposed schedule to Defendants at that time, Plaintiffs’ counsel asked that the
meeting be canceled and submitted their proposal without conferral.
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  There is likewise no need, as Plaintiffs suggest, for the Court to set a schedule now for
addressing the Supreme Court’s upcoming decision in Community Financial Services
Association of America, Ltd. v. CFPB (CFSA). Defendants respectfully propose that the Court
instead wait until after the Supreme Court decides CFSA to decide what additional briefing may
be warranted in light of that decision. There is no reason to rush now, as the preliminary
injunction remains in place unless the Court vacates it.
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                                       /s/ Justin M. Sandberg
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                                       Financial Protection Bureau and Rohit
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                               CERTIFICATE OF SERVICE

       I hereby certify on May 16, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                   /s/ Justin M. Sandberg
                                                   Justin M. Sandberg
